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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    ENVISION HEALTHCARE CORPORATION,                               )
    et al.,1                                                       )     Case 23-90342 (CML)
                                                                   )
                             Reorganized Debtors.                  )     (Jointly Administered)
                                                                   )

                   REORGANIZED DEBTORS’ MOTION FOR ENTRY OF A
               FINAL DECREE CLOSING CERTAIN OF THE CHAPTER 11 CASES

             If you object to the relief requested, you must respond in writing. Unless otherwise
             directed by the Court, you must file your response electronically at
             https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this application
             was filed. If you do not have electronic filing privileges, you must file a written
             objection that is actually received by the clerk within twenty-one days from the date
             this application was filed. Otherwise, the Court may treat the pleading as unopposed
             and grant the relief requested.


             The above-captioned reorganized debtors (collectively, the “Reorganized Debtors,” and

before the Effective Date2 of the Plans, collectively, the “Debtors”) state as follows in support of

this motion:




1
      A complete list of each of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of
      the Reorganized Debtors’ claims and noticing agent at https://cases.ra.kroll.com/Envision. The Reorganized
      Debtors’ service address is 1A Burton Hills Boulevard, Nashville, Tennessee 37215.


2
      Capitalized terms not otherwise defined herein have the meanings ascribed to such terms in the Third Amended
      Joint Chapter 11 Plan of Reorganization of the AmSurg Debtors (Technical Modifications) [Docket No. 1650]
      (as may be amended, supplemented, or otherwise modified from time to time, and including all exhibits thereto,
      the “AmSurg Plan”) or the Third Amended Joint Chapter 11 Plan of Reorganization of the EVPS Debtors
      (Technical Modifications) [Docket No. 1651] (as may be amended, supplemented, or otherwise modified from
      time to time, and including all exhibits thereto, the “EVPS Plan,” and, together with the AmSurg Plan,
      the “Plans”) or the Confirmation Orders (defined below), as applicable.
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                                               Relief Requested

          1.     The Reorganized Debtors seek entry of a final decree, substantially in the attached

form (the “Final Decree”), (a) closing each of the Debtors’ Chapter 11 Cases other than the case

of ED Solutions, LLC, Case No. [23-90367] (the “Remaining Case”), and (b) granting related

relief.

                                           Jurisdiction and Venue

          2.     The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Reorganized Debtors confirm their consent to the

entry of a final order by the Court.

          3.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.     The bases for the relief requested herein are sections 105(a) and 350(a) of title 11

of the United States Code (the “Bankruptcy Code”), rule 3022 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 1075-1 and 9013-1 of the Bankruptcy Local Rules

for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                                  Background

          5.     On May 15, 2023, each Debtor filed a voluntary petition for relief under chapter 11

of the Bankruptcy Code.3 The same day, the Court entered an order [Docket No. 61] authorizing


3   A detailed description of the facts and circumstances of these Chapter 11 Cases is set forth in the Declaration of
    Paul Keglevic, Chief Restructuring Officer of Envision Healthcare Corporation, in Support of the Debtors’
    Chapter 11 Petitions [Docket No. 2] and the Declaration of Dennis Stogsdill, Managing Director of Alvarez &
    Marsal North America, LLC, in Support of (I) the Debtors’ First Day Motions and (II) the Debtors’ Emergency
    Motion for Entry of Interim and Final Orders (A) Authorizing the Debtors to Use Cash Collateral, (B) Granting
    Adequate Protection to Prepetition Secured Parties, (C) Scheduling a Final Hearing, (D) Modifying the
    Automatic Stay, and (E) Granting Related Relief [Docket No. 3], detailing the facts and circumstances of these
    Chapter 11 Cases.




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the   joint   administration    of   these   Chapter   11   Cases   under    the     case   of

Envision Healthcare Corporation, Case No. 23-90342 (the “Lead Case”). The Chapter 11 Cases

other than the Lead Case are as follows:

                          Affiliate Debtors                               Case No.
        Acute Management, LLC                                  23-90341
        Affilion, Inc.                                         23-90538
        All Women’s Healthcare Holdings, Inc.                  23-90540
        All Women’s Healthcare of Dade, Inc.                   23-90542
        All Women’s Healthcare of Sawgrass, Inc.               23-90543
        All Women’s Healthcare of West Broward, Inc.           23-90544
        All Women’s Healthcare Services, Inc.                  23-90547
        All Women’s Healthcare, Inc.                           23-90549
        AllegiantMD, Inc.                                      23-90550
        Alpha Physician Resources, L.L.C.                      23-90551
        American Emergency Physicians Management, Inc.         23-90552
        AmSurg Abilene Eye, Inc.                               23-90553
        AmSurg Abilene, Inc.                                   23-90554
        AmSurg Altamonte Springs FL, Inc.                      23-90555
        AmSurg Anesthesia Management Services, LLC             23-90556
        AmSurg Arcadia CA, Inc.                                23-90348
        AmSurg Burbank, Inc.                                   23-90355
        AmSurg Colton CA, Inc.                                 23-90362
        AmSurg Crystal River, Inc.                             23-90369
        AmSurg EC Beaumont, Inc.                               23-90378
        AmSurg EC Centennial, Inc.                             23-90385
        AmSurg EC Santa Fe, Inc.                               23-90394
        AmSurg EC St. Thomas, Inc.                             23-90401
        AmSurg EC Topeka, Inc.                                 23-90409
        AmSurg EC Washington, Inc.                             23-90419
        AmSurg El Paso, Inc.                                   23-90429
        AmSurg Escondido CA, Inc.                              23-90439
        AmSurg Finance, Inc.                                   23-90446
        AmSurg Fresno Endoscopy, Inc.                          23-90454
        AmSurg Glendale, Inc.                                  23-90386
        AmSurg Glendora CA, Inc.                               23-90416



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 AmSurg Hillmont, Inc.                            23-90433
 AmSurg Holdco, LLC                               23-90450
 AmSurg Holdings, LLC                             23-90464
 AmSurg Inglewood, Inc.                           23-90482
 AmSurg KEC, Inc.                                 23-90491
 AmSurg Kissimmee FL, Inc.                        23-90497
 AmSurg La Jolla, Inc.                            23-90500
 AmSurg Lancaster PA, LLC                         23-90504
 AmSurg Main Line PA, LLC                         23-90510
 AmSurg Maryville, Inc.                           23-90512
 AmSurg Melbourne, Inc.                           23-90517
 AmSurg Miami, Inc.                               23-90519
 AmSurg Naples, Inc.                              23-90372
 AmSurg New Port Richey FL, Inc.                  23-90391
 AmSurg Northwest Florida, Inc.                   23-90415
 AmSurg Oakland CA, Inc.                          23-90432
 AmSurg Ocala, Inc.                               23-90456
 AmSurg Palmetto, Inc.                            23-90480
 AmSurg Physicians Arizona, LLC                   23-90494
 AmSurg Physicians HoldCo, LLC                    23-90501
 AmSurg Pottsville PA, LLC                        23-90506
 AmSurg San Antonio TX, Inc.                      23-90514
 AmSurg San Luis Obispo CA, Inc.                  23-90545
 AmSurg Scranton PA, Inc.                         23-90525
 AmSurg Suncoast, Inc.                            23-90528
 AmSurg Temecula CA, Inc.                         23-90531
 AmSurg Temecula II, Inc.                         23-90345
 AmSurg Torrance, Inc.                            23-90353
 AmSurg, LLC                                      23-90343
 Anesthesiologists of Greater Orlando, Inc.       23-90364
 Anesthesiology Associates of Tallahassee, Inc.   23-90373
 Apex Acquisition LLC                             23-90381
 APH Laboratory Services, Inc.                    23-90396
 Arizona Perinatal Care Centers, LLC              23-90407
 ASDH I, LLC                                      23-90417
 ASDH II, LLC                                     23-90425
 Austin NSC, LLC                                  23-90431


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 Austin NSC, LP                                       23-90442
 Bay Area Anesthesia, L.L.C.                          23-90452
 BestPractices, Inc.                                  23-90463
 Bethesda Anesthesia Associates, Inc.                 23-90475
 Boca Anesthesia Service, Inc.                        23-90349
 Bravo Reimbursement Specialist, L.L.C.               23-90358
 EMSC ServicesCo, LLC                                 23-90377
 Broad Midwest Anesthesia, LLC                        23-90366
 Centennial Emergency Physicians, LLC                 23-90374
 Chandler Emergency Medical Group, L.L.C.             23-90383
 Children’s Anesthesia Associates, Inc.               23-90395
 Clinical Partners Management Company, LLC            23-90404
 CMORx, LLC                                           23-90411
 Coastal Anesthesiology Consultants, LLC              23-90421
 Coral Springs NSC, LLC                               23-90428
 Davis NSC, LLC                                       23-90438
 Desert Mountain Consultants in Anesthesia, Inc.      23-90449
 Discovery Clinical Research, Inc.                    23-90459
 Doctors Billing Service, Inc.                        23-90469
 Drs. Ellis, Rojas, Ross & Debs, Inc.                 23-90359
 EDIMS, L.L.C.                                        23-90380
 EHR Management Co.                                   23-90392
 EmCare Anesthesia Providers, Inc.                    23-90406
 EmCare HoldCo, LLC                                   23-90448
 EmCare Holdings, LLC                                 23-90470
 EmCare of California, Inc.                           23-90493
 EmCare Physician Providers, Inc.                     23-90516
 EmCare Physician Services, Inc.                      23-90534
 EmCare, LLC                                          23-90523
 Emergency Medical Services LLC                       23-90526
 Emergency Medicine Education Systems, Inc.           23-90529
 EMS Management LLC                                   23-90530
 Enterprise Intermediate Holdings Inc.                23-90389
 Enterprise Parent Holdings, Inc.                     23-90402
 Envision Anesthesia Services of Delaware, Inc.       23-90414
 Envision Anesthesia Services of Sierra Vista, Inc.   23-90426




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 Envision Children’s Healthcare Services of North    23-90455
 Mississippi, Inc.
 Envision Healthcare Clinical Research, Inc.         23-90471
 Envision Healthcare Scientific Intelligence, Inc.   23-90489
 Envision Physician Services, LLC                    23-90498
 Evolution Mobile Imaging, LLC                       23-90502
 Flamingo Anesthesia Associates, Inc.                23-90505
 FM Healthcare Services, Inc.                        23-90509
 FMO Healthcare Holdings, LLC                        23-90511
 FO Investments II, Inc.                             23-90515
 FO Investments III, Inc.                            23-90507
 FO Investments, Inc.                                23-90520
 Fullerton NSC, LLC                                  23-90524
 Global Surgical Partners, Inc.                      23-90527
 Greater Florida Anesthesiologists, LLC              23-90532
 Gynecologic Oncology Associates, Inc.               23-90533
 Hawkeye Holdco LLC                                  23-90535
 Healthcare Administrative Services, Inc.            23-90536
 Holiday Acquisition Company, Inc.                   23-90537
 Illinois NSC, Inc.                                  23-90539
 Imaging Advantage LLC                               23-90541
 Infinity Healthcare, Inc.                           23-90557
 iSelect Healthcare LLC                              23-90546
 Jacksonville Beaches Anesthesia Associates, Inc.    23-90548
 Jupiter Anesthesia Associates, L.L.C.               23-90347
 Jupiter Healthcare, LLC                             23-90352
 Kenwood NSC, LLC                                    23-90361
 KMAC, Inc.                                          23-90368
 Long Beach NSC, LLC                                 23-90379
 MedAssociates, LLC                                  23-90390
 Medi-Bill of North Florida, Inc.                    23-90398
 Medical Information Management Solutions, LLC       23-90413
 Millennium Vision Surgical, LLC                     23-90427
 MSO Newco, LLC                                      23-90437
 NAC Properties, LLC                                 23-90445
 New Generations Babee Bag, Inc.                     23-90458
 North Florida Anesthesia Consultants, Inc.          23-90468



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 North Florida Perinatal Associates, Inc.                23-90478
 Northwood Anesthesia Associates, L.L.C.                 23-90351
 NSC Healthcare, Inc.                                    23-90356
 NSC RBO East, LLC                                       23-90363
 NSC West Palm, LLC                                      23-90370
 Parity Healthcare, Inc.                                 23-90382
 Partners in Medical Billing, Inc.                       23-90393
 Phoenix Business Systems, LLC                           23-90405
 Phoenix Physicians, LLC                                 23-90418
 Physician Account Management, Inc.                      23-90434
 Physician Office Partners, Inc.                         23-90443
 Pinnacle Consultants Mid-Atlantic, L.L.C.               23-90453
 Practice Account Management Services, LLC               23-90466
 Proven Healthcare Solutions of New Jersey, LLC          23-90479
 Provider Account Management, Inc.                       23-90486
 QRx Medical Management, LLC                             23-90346
 Radiology Staffing Solutions, Inc.                      23-90354
 Radstaffing Management Solutions, Inc.                  23-90365
 Reimbursement Technologies, Inc.                        23-90375
 Rose Radiology, LLC                                     23-90387
 San Antonio NSC, LLC                                    23-90400
 Sentinel Healthcare Services, LLC                       23-90412
 Sheridan Anesthesia Services of Alabama, Inc.           23-90424
 Sheridan Anesthesia Services of Louisiana, Inc.         23-90436
 Sheridan Anesthesia Services of Virginia, Inc.          23-90447
 Sheridan CADR Solutions, Inc.                           23-90461
 Sheridan Children’s Healthcare Services of Arizona,     23-90474
 Inc.
 Sheridan Children’s Healthcare Services of Kentucky,    23-90485
 Inc.
 Sheridan Children’s Healthcare Services of Louisiana,   23-90492
 Inc.
 Sheridan Children’s Healthcare Services of New          23-90344
 Mexico, Inc.
 Sheridan Children’s Healthcare Services of Ohio, Inc.   23-90350
 Sheridan Children’s Healthcare Services of Virginia,    23-90360
 Inc.
 Sheridan Children’s Healthcare Services, Inc.           23-90376


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 Sheridan Children’s Services of Alabama, Inc.        23-90388
 Sheridan Emergency Physician Services of Missouri,   23-90399
 Inc.
 Sheridan Emergency Physician Services of North       23-90408
 Missouri, Inc.
 Sheridan Emergency Physician Services of South       23-90420
 Florida, Inc.
 Sheridan Emergency Physician Services, Inc.          23-90435
 Sheridan Healthcare of Louisiana, Inc.               23-90444
 Sheridan Healthcare of Missouri, Inc.                23-90457
 Sheridan Healthcare of Vermont, Inc.                 23-90467
 Sheridan Healthcare of Virginia, Inc.                23-90477
 Sheridan Healthcare of West Virginia, Inc.           23-90484
 Sheridan Healthcare, LLC                             23-90357
 Sheridan Healthcorp of California, Inc.              23-90371
 Sheridan Healthcorp, Inc.                            23-90384
 Sheridan Healthy Hearing Services, Inc.              23-90397
 Sheridan Holdings, Inc.                              23-90410
 Sheridan Hospitalist Services of Florida, Inc.       23-90422
 Sheridan InvestCo, LLC                               23-90430
 Sheridan Leadership Academy, Inc.                    23-90440
 Sheridan Radiology Management Services, Inc.         23-90451
 Sheridan Radiology Services, Inc.                    23-90462
 Sheridan ROP Services of Alabama, Inc.               23-90472
 Sheridan ROP Services of Florida, Inc.               23-90483
 Sheridan ROP Services of Virginia, Inc.              23-90490
 SHI II, LLC                                          23-90495
 Southeast Perinatal Associates, Inc.                 23-90403
 Spotlight Holdco LLC                                 23-90423
 St. Lucie Anesthesia Associates, LLC                 23-90441
 Streamlined Medical Solutions LLC                    23-90460
 Sun Devil Acquisition LLC                            23-90476
 Sunbeam Asset LLC                                    23-90488
 Tampa Bay NSC, LLC                                   23-90496
 Templeton Readings, LLC                              23-90499
 Tennessee Valley Neonatology, Inc.                   23-90503
 Tiva Healthcare, Inc.                                23-90508
 Torrance NSC, LLC                                    23-90513


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          Towson NSC, LLC                                                     23-90518
          Twin Falls NSC, LLC                                                 23-90521
          Valley Anesthesiology Consultants, Inc.                             23-90522
          Valley Clinical Research, Inc.                                      23-90465
          West Fairview Emergency Physicians, LLC                             23-90473
          Weston NSC, LLC                                                     23-90481
          Wilton NSC, LLC                                                     23-90487

        6.       On October 11, 2023, the Court entered (i) the Revised Order Confirming the Third

Amended Joint Chapter 11 Plan of Reorganization of the EVPS Debtors (Technical Modifications)

[Docket No. 1687] (the “EVPS Confirmation Order”) and (ii) the Order Confirming the Third

Amended Joint Chapter 11 Plan of Reorganization of the AmSurg Debtors (Technical

Modifications) [Docket No. 1688] (the “AmSurg Confirmation Order,” and together with the

EVPS Confirmation Order, the “Confirmation Orders”).                    The Effective Date occurred on

November 3, 2023, and the Plans have been substantially consummated. See Notice of (I) Entry

of Orders Confirming (A) the Third Amended Joint Chapter 11 Plan of Reorganization of the EVPS

Debtors (Technical Modifications) and (B) the Third Amended Joint Chapter 11 Plan of

Reorganization of the AmSurg Debtors (Technical Modifications) and (II)Occurrence of Effective

Date [Docket No. 1807]. The Confirmation Orders are final, non-appealable, and not subject to

any pending appeal.4

        7.       To date, approximately 1,558 Proofs of Claim have been filed in these Chapter 11

Cases. The Reorganized Debtors are continuing to review the Proofs of Claim and may object to

certain Proofs of Claim in the future (the “Claims Reconciliation Process”).5 Similarly, the


4
    See AmSurg Confirmation Order, ¶ 149 and EVPS Confirmation Order, ¶162 (“[This] Confirmation Order is a
    Final Order, and the period in which an appeal must be Filed shall commence upon the entry hereof.”). Pursuant
    to Bankruptcy Rule 8002, an appeal must have been filed, within fourteen days of entry of the Confirmation
    Order. No such appeal of the Confirmation Order has been filed.

5
    See Article VII.G of the Plans.



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Reorganized Debtors continue to negotiate pending Cure objections and may bring Cure disputes

before the Court in the future pursuant to Article VII of the Plans (the “Cure Reconciliation

Process”). In addition, pursuant to the Plans, all requests for payment of Professional Claims for

services rendered and reimbursement of expenses incurred prior to the Effective Date must be filed

no later than forty-five days after the Effective Date (the “Fee Applications”).

        8.       Although the Reorganized Debtors do not anticipate any further significant

contested matters related to their Chapter 11 Cases, miscellaneous motions, applications,

pleadings, or other matters or proceedings may arise from time to time (together with the Claims

Reconciliation Process, the Cure Reconciliation Process, and the Fee Applications, collectively,

the “Remaining Matters”). Any Remaining Matters related to any of the Reorganized Debtors can

be filed, administered, and adjudicated in the Remaining Case without any substantive or negative

impact on any party in interest.6

        9.       The Reorganized Debtors believe that closing these Chapter 11 Cases other than

the Remaining Case is in the best interest of the Reorganized Debtors as it will greatly reduce the

fees attributable to remaining in chapter 11.

                                                Basis for Relief

        10.      Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is fully

administered and the court has discharged the trustee, the court shall close the case.”

11 U.S.C. § 350(a).         Bankruptcy Rule 3022, which implements section 350 of the

Bankruptcy Code, further provides that “[a]fter an estate is fully administered in a chapter 11



6
    The Reorganized Debtors reserve all rights to dispute any outstanding claims, and the failure of the Reorganized
    Debtors to object to any claim filed in these Chapter 11 Cases prior to entry of the Final Decree shall not cause
    such claim to be deemed allowed. The Reorganized Debtors request that the Court permit any objections to
    claims against or interests in any of the Chapter 11 Cases to be filed, administered, and adjudicated in the
    Remaining Case.



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reorganization case, the court, on its own motion or on motion of a party in interest, shall enter a

final decree closing the case.” Fed. R. Bankr. P. 3022.

       11.         The term “fully administered” is not defined in the Bankruptcy Code, the

Bankruptcy Rules, or the Bankruptcy Local Rules. The Advisory Committee Note to Bankruptcy

Rule 3022 (the “Advisory Committee Note”), however, sets forth the following non-exclusive

factors to be considered in determining whether a case has been fully administered:

               i.         whether the order confirming the plan has become final;

             ii.          whether deposits required by the plan have been distributed;

             iii.         whether the property proposed by the plan to be transferred
                          has been transferred;

             iv.          whether the debtor or the successor of the debtor under the
                          plan has assumed the business or the management of the
                          property dealt with by the plan;

              v.          whether payments under the plan have commenced; and

             vi.          whether all motions, contested matters, and adversary
                          proceedings have been finally resolved.

Fed. R. Bankr. P. 3022, Advisory Comm. Note (1991). Courts look “to the advisory committee’s

notes on Bankruptcy Rule 3022 in seeking guidance as to the meaning of ‘fully administered.’”

In re JCP Props., Ltd., 540 B.R. 596, 605 (Bankr. S.D. Tex. 2015).

       12.         In addition to the factors set forth in the Advisory Committee Note, courts have

considered whether the plan of reorganization has been substantially consummated.

See, e.g., In re JCP Props., Ltd., 540 B.R. at 605 (commenting that “substantial consummation is

the pivotal question here to determine the propriety of closing the [case]”). Section 1101(2) of the

Bankruptcy Code defines substantial consummation as the: (A) transfer of all or substantially all

of the property proposed by the plan to be transferred; (B) assumption by the debtor or by the




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successor to the debtor under the plan of the business or of the management of all or substantially

all of the property dealt with by the plan; and (C) commencement of distribution under the plan.

        13.     Bankruptcy courts have adopted the view that “[the Advisory Committee Note]

factors are but a guide in determining whether a case has been fully administered, and not all

factors need to be present before the case is closed.” In re SLI, Inc., Case No. 02-12608 (WS),

2005 WL 1668396, at *2 (Bankr. D. Del. June 24, 2005).

        14.     Courts have also noted that entry of a final decree is appropriate to stop the accrual

of fees paid to the U.S. Trustee pursuant to section 1930 of the United States Code

(the “Section 1930 Fees”).        See     In re Jay Bee      Enters.,     Inc.,    207     B.R. 536,      539

(Bankr. E.D. Ky. 1997) (concluding that “it seems appropriate to close this case to stop the

financial drain on the debtor” due to accrual of Section 1930 Fees).

        15.     Here, the foregoing factors weigh strongly in favor of closing all of the Chapter 11

Cases except for the Remaining Case (collectively, the “Affiliate Cases”). The Confirmation

Orders are final orders, the Effective Date of the Plans have occurred, and the Plans are

substantially consummated.7 Closing the Affiliated Cases is consistent with the confirmed Plans,

which provide that the Reorganized Debtors “shall, promptly after the full administration of the

Chapter 11 Cases, File with the Bankruptcy Court all documents required by Bankruptcy Rule

3022 and any applicable order of the Bankruptcy Court to close the Chapter 11 Cases.” AmSurg

Plan at Art. XII.M.; EVPS Plan at Art. XII.M.

        16.     While the Reorganized Debtors acknowledge that the payment of certain claims

may be pending, such claims will be paid pursuant to the Plans in the Remaining Case or outside



7
    Articles IX.D of both the EVPS Plan and the AmSurg Plan provide: “Substantial Consummation... as defined in
    11 U.S.C. § 1101(2), shall be deemed to occur on the Effective Date.”



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the Chapter 11 Cases in accordance with the Bankruptcy Code and the Plans. Bankruptcy courts

in the Fifth Circuit have entered final decrees and closed cases despite certain claims being unpaid.

See, e.g., In re Anachoreta, Inc., No. 18-36960 (MI) (Bankr. S.D. Tex. Jun. 26, 2020); In re EXCO

Services, Inc., No. 18-30167 (MI) (Bankr. S.D. Tex. Nov. 12, 2019). “The court should not keep

[a] case open only because of the possibility that the court’s jurisdiction may be invoked in the

future.” Fed. R. Bankr. P. 3022, Advisory Comm. Note (1991). Moreover, the entry of the Final

Decree closing the Affiliate Cases would be without prejudice to creditors’ rights to petition the

Court to reopen any of such cases pursuant to section 350(b) of the Bankruptcy Code.

       17.     The Reorganized Debtors will work to resolve the Remaining Matters. To the

extent issues arise relating to the Reorganized Debtors, such matters can be resolved under the

Remaining Case without keeping the dockets of the Affiliate Cases open. Closing the dockets of

the Affiliate Cases will have no impact on the resolution of any remaining claims or distributions,

other legal entitlements under the Plans, or the substantive rights of any party in interest, and would

stop the accrual of Section 1930 Fees associated with the Affiliate Cases. Accordingly, entry of

the Final Decree closing the Affiliate Cases is in the best interests of the Reorganized Debtors and

an appropriate use of the Court’s equitable powers pursuant to section 105(a) of the

Bankruptcy Code.

                                               Notice

       18.     The Debtors will provide notice of this motion to the following: (a) the U.S. Trustee

for the Southern District of Texas; (b) counsel to the Committee; (c) counsel to the ABL Agent;

(d) counsel to the RCF Agent; (e) counsel to the Ad Hoc Group of First Lien AmSurg Lenders; (f)

counsel to the AmSurg 2L Group; (g) counsel to the Envision Ad Hoc Group; (h) counsel to the

Unsecured Notes Group; (i) counsel to the Consenting Sponsors; (j) the United States Attorney’s

Office for the Southern District of Texas; (k) the Internal Revenue Service; (l) the United States


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Securities and Exchange Commission; (m) the state attorneys general for states in which the

Debtors conduct business; and (n) any party that has requested notice pursuant to Bankruptcy Rule

2002 and Bankruptcy Local Rule 9013-1(d). In light of the nature of the relief requested, no other

or further notice is required.




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       WHEREFORE, the Reorganized Debtors request that the Court enter the Final Decree

granting the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Houston, Texas
November 20, 2023

/s/ Rebecca Blake Chaikin
JACKSON WALKER LLP                                    KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)            KIRKLAND & ELLIS INTERNATIONAL LLP
Rebecca Blake Chaikin (TX Bar No. 24133055)           Edward O. Sassower, P.C.
Vienna Anaya (TX Bar No. 24091225)                    Nicole L. Greenblatt, P.C. (admitted pro hac vice)
Javier Gonzalez (TX Bar No. 24119697)                 Joshua A. Sussberg, P.C. (admitted pro hac vice)
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                                        Certificate of Service

        I certify that, on November 20, 2023, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Rebecca Blake Chaikin
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